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                       UNITED STATES DISTRICT COURT
                                                                    FIN-E,D
                       NORTHERN DISTRICT OF ILLINOIS                   JJL   ',i   6 2011
                             EASTERN DIYISION

 UNITED STATES OF AMERICA                                      "'f:
                                                   No. 16 CR 108
                                                                    i,T'[i"t:ft]'?[3*
       v.
                                                   Judge Charles R. Norgle
 COLLIN COON

                               PLEAAGREEMEI{T

      1.     This Plea Agreement between the Acting United States Attorney for the

Northern District of Illinois, JOEL R. LEVIN, and defendant COLLIN COON, and

his attorney, JOSHUA G. HERMAN, is made pursuant to Rule 11 of the Federal

Rules of Criminal Procedure and is governed in part by Rule 11(c)(1)(A), as more fully

set forth below. The parties to this Agreement have agreed upon the following:

                              Charges in This Case

      2.     The indictment in this case charges defendant with three counts of

possession of a firearm by a convicted felon,   in violation of fitle 18 United States

Code, Section 922(d$) (Counts 1-3).

      3.     Defendant has read       the charges against him contained in              the

indictment, and those charges have been fully explained to him by his attorney.

      4.     Defendant fully understands the nature and elements ofthe crimes with

which he has been charged.

                Charge to Which Defendant Is Pleading Guilty

      5.     By this Plea Agreement, defendant agrees to enter a voluntary plea of

guilty to the following count of the indictment: Count Two, which charges defendant
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with possession of a firearm by a convicted felon, in violation   of   Title   18   United States

Code, Section 922(d$).

                                    Factual Basis

      6.     Defendant   will plead guilty because he is in fact guilty of the charge
contained in Count TWo of the indictment. In pleading gurlty, defendant admits the

following facts and that those facts establish his guilt beyond a reasonable doubt and

constitute relevant conduct pursuant to Guideline $ 181.3:

      On or about September 16, 2015, at Joliet, in the Northern District of lllinois,

Eastern Division, and elsewhere, defendant Collin COON ("COON"), previously

having been convicted of a crime punishable by a term of imprisonment exceeding

one year, did knowingly possess,    in and affecting interstate        commerce, a firearm,

namely a Taurus PT-25 pistol, with an obliterated serial number, which firearm had

traveled in interstate commerce prior to defendant's possession of the fi.rearm, in

violation of Title 18, United States Code, Section 922(dO).

      More specifically,   in   20t5, the Bureau of Alcohol, Tobacco, Firearms and

Explosives (ATF) was investigating individuals unlawfully selling firearms and

narcotics in and around Joliet, Illinois. In the course of that investigation, the ATF

employed a variety of law enforcement tactics, including the use of a confidential

source ("CS"). On or about September 12,2015 continuing through September 15,

2015, the CS and COON communicated          with   each other,    in person and over the
telephone, regarding the sale of a pistol. On or about the evening of September 15,


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20L5, COON agreed to sell a pistol to the CS for $gSO. The following morning, on or

about September 16,2015, COON and the CS exchanged text messages and agreed

to meet at a location in Joliet, Illinois. Later that morning, the CS drove a vehicle to

the agreed upon location and waited for COON. Shortly thereafter, COON entered

the CS's vehicle, sat beside the CS and immediately removed a Taurus PT-25 pistol

with an obliterated serial number from inside his pants and placed the pistol on the

floor between the two front seats. COON indicated to the CS that the pistol was

loaded with bullets. The CS and COON then began to again discuss the price of the

pistol. After further negotiation, COON agreed to reduce the sale price of the pistol

from   $SSO   to $330. The CS then paid COON $gSO in prerecorded funds for the pistol.

COON left the pistol with the CS and exited the vehicle with the $330 in prerecorded

funds.

         In addition to selling the CS a firearm on September 16, 2015, COON also sold

the CS firearms on two other occasions. More specifically, on or about August 24,

2015 continuing through August 25, 20L5, COON and the CS communicated with

each other, in person and over the telephone, regarding the sale of a shotgun. After

such communication, on or about the morning of August 25,2015, COON agreed to

sell the shotgun to the CS for $ZSO. COON and the CS then agreed to meet at a

location in Joliet, Illinois. Later that afternoon, the CS drove a vehicle to the agreed

upon location. When the CS arrived at the location, COON entered the CS's vehicle

and placed the bag he was holding behind the front seats of the vehicle and sat down


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in the front   passenger's    seat. The bag contained a Savage, model 21, t2       gauge

shotgun, bearing serial number 16527, and COON indicated to the CS that he

thought the shotgun was loaded. The CS then paid COON         $ZSO   in prerecorded funds

for the shotgun.

      Additionally, on or about September t6,2015 continuing through September

22,20L5, COON and the CS communicated with each other, in person and over the

telephone, regarding the sale       of a pistol. During such communication, COON
indicated that he would sell the CS a pistol for no less than $SgO. On or about the

morning of September 23, 2015, COON and the CS exchanged text messages with

each other and agreed to meet at a location in Joliet,    Illinois. Later that morning,
the CS drove a vehicle to the agreed upon location and waited for COON. Soon afber,

COON entered the CS's vehicle on the front passenger's side, took a seat next to the

CS, and showed the CS a Beretta, model 2l-A, .22 caliber pistol, bearing serial

number BBS45800U, and told the CS it was loaded. COON indicated that he had just

fired the pistol and that pistol barrel still smelled of fresh smoke. The CS and COON

then began to again discuss the price of the pistol. After further discussion, the CS

paid COON      $SZO   in   prerecorded funds for the   pistol. COON and the CS then
continued to talk, after which time COON left the pistol with the CS and exited the

vehicle with the $320 in prerecorded funds.

      COON acknowledges that the Taurus PT-25 pistol, with an obliterated serial

number; the Savage, model 21,12 gauge shotgun, bearing serial number L6527; and
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the Beretta, model 21,-4, .22 caliber pistol, bearing serial number BBS45800U all

traveled in interstate commerce prior to his possession of the firearms and that the

firearms were all manufactured outside the state of Illinois.

      COON further acknowledges that prior to August 25,2015, he had previously

been convicted of a crime punishable by a term of imprisonment exceeding one year.

                           Maximum Statutory Penalties

      7.     Defendant understands that the charge to which he is pleading guilty

carries the following statutory penalties:

             a.     A maximum sentence of 10 years'imprisonment. This offense also

carries a maximum fine of $250,000. Defendant further understands that the judge

also may impose a term of supervised release of not more than three years.

             b.     In   accord   with Title 18, United States Code, Section       3013,

defendant will be assessed $100 on the charge to which he has pled guilty, in addition

to any other penalty imposed.

                         Sentencing Guidelines Calculations

      8.     Defendant understands that          in determining a sentence, the Court is
obligated to calculate the applicable Sentencing Guidelines range, and to consider

that range, possible departures under the Sentencing Guidelines, and other
sentencing factors under 18 U.S.C. $ 3553(a), which include:         (i) the nature   and

circumstances of the offense and the history and characteristics of the defendant; (ii)

the need for the sentence imposed to reflect the seriousness of the offense, promote


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respect for the law, and provide just punishment for the offense, afford adequate

deterrence   to criminal conduct, protect the public from further crimes of the
defendant, and provide the defendant with needed educational orvocational training,

medical care, or other comectional treatment in the most effective manner; (iii) the

kinds of sentences available; (iv) the need to avoid unwanranted sentence disparities

among defendants with similar records who have been found guilty of similar

conduct; and (v) the need to provide restitution to any victim of the offense.

      9.      For purposes of calculating the Sentencing Guidelines, the parties agree

on the following points, except as specified below:

              a.        Applicable Guidelines. The Sentencing Guidelines to              be

considered   in this    case are those   in effect at the time of sentencing. The following
statements regarding the calculation of the Sentencing Guidelines are based on the

Guidelines Manual currently         in effect, namely the November 2016 Guidelines
Manual.

              b.        Offense Level Calculations.

                       i.     It is the government's position that, pursuant to Guideline

$ 2K2.1(aX4)(A), the base offense level for Count T\nro is 20 since defendant committed

any part of the offense subsequent to sustaining one conviction for a crime ofviolence,

namely the attempt robbery, described in paragraph c. ii. below.       It is the defendant's
position that his prior attempt robbery conviction is not a crime of violence as defined

under Guideline    $   4B1.2(a) and therefore, pursuant to Guideline $ 2K2.1(a)(6)(A), the


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base offense level for Count TWo is 14. Each party is free to present arguments to

support their position at the sentencing hearing.

                  ii.      Pursuant to Guideline $ 2K2.1(b)(lXA), the offense level is

increased 2 levels because the offense conduct, including relevant conduct for which

the defendant is accountable, involved three firearms.

                 l1l.      Pursuant to Guideline    $   2K2.1(bX4)(B), the offense level is

increased 4 levels because a firearm had an obliterated serial number.

                 tv.       It is the government's position that, pursuant to Guideline

$ 2K2.1(b)(5), the offense level is increased 4levels because the defendant engaged     in

the trafficking of firearms, as described in paragraph 6 above. It is the defendant's

position that his sale and transfer of the three firearms to the CS does not amount to

the traffi"cking of firearrns as defined under Guideline $ 2K2.1(b)(5) and therefore the

4 level increase under that section should not apply. Each party is free to present

arguments to support their position at the sentencing hearing.

                  v.       Defendant has clearly demonstrated a recognition and

affirmative acceptance of personal responsibility for his criminal conduct.         If the
government does not receive additional evidence in conflict with this provision, and

if defendant continues to accept responsibility for his    actions within the meaning of

Guideline $ 3E1.1"(a), including by furnishing the United States Attorney's Office and

the Probation Office with all requested financial information relevant to his ability to
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satisfr any fine that may be imposed in this case, a two-level reduction in the offense

level is appropriate.

                    vI.        In accord with Guideline   $ 3E1.1(b), defendant has   timely

notified the government of his intention to enter a plea of guilty, thereby permitting

the government to avoid preparing for trial and permitting the Court to allocate its

resources efficiently. Therefore, as provided by Guideline $ 3EL.1(b),         if the Court
determines the offense level to be l-6 or greater prior to determining that defendant

is entitled to a two-level reduction for acceptance of responsibility, the government

will   move for an additional one-level reduction in the offense level.

               c.         Criminal History Category. With regard to determining
defendant's criminal history points and criminal history category,                it is   the

government's position that based on the facts now known to the government and

stipulated,    in paft, below, defendant's criminal history points equal 13 and
defendant's criminal history category is VI; while        it is the defendant's position, as
stipulated,   in part, below, that    defendant's criminal history points equal       7   and

defendant's criminal history category is IV:

                               On or about August 26,2003, defendant was convicted of

unlawful possession of a stolen motor vehicle in the Circuit Court of Will County,

Illinois and sentenced to thirty months' probation. On or about January 8,2004,

defendant's probation was revoked and             he was resentenced to six           years'

imprisonment. Pursuant to Guideline $$ 4A1.1(a) and.4A1.2(e), defendant receives 3


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criminal history points for this sentence. It is the defendant's position that defendant

receives no criminal history points      for this   sentence, pursuant      to   Guideline

$$   aA1.1(a) and 441.2(e), and that defendant reserves the right to oppose the

application of these 3 criminal history points at sentencing.

                   ii.     On or about January 8,2004, defendant was convicted of

attempt robbery in the Circuit Court of Will County, Illinois and sentenced to six

years' imprisonment.     It is the government's position that, pursuant to Guideline
$$   4A1.1(a) and 441.2(e), defendant receives    3 criminal history points for this
sentence.   It is the defendant's position that defendant receives no criminal history
points for this sentence, pursuant to Guideline $$ 4A1.1(a) and 4A1.2(e), and that

defendant reserves the right to oppose the application of these 3 criminal history

points at sentencing.

                  llt.     On or about November 23,2005, defendant was convicted

of aggravated unlawful use of a weapon in the Circuit Court of Will County, Illinois

and sentenced to five years and six months'imprisonment. Pursuant to Guideline

$$   4A1.1(a) and 44L.2(e), defendant receives    3 criminal history points for this
sentence.

                  iv.      On or about September 30, 201"0, defendant was convicted

of unlawful possession of a controlled substance in the Circuit Court of    Will County,

Illinois and sentenced to twenty-four months' probation. Pursuant to Guideline

$$ 4A1.1(c) and 4A1.2(e), defendant receives 1 criminal history point for   this sentence.


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                  v.      On or about September 7 ,20tL, defendant was convicted of

unlawful use of a weapon by a felon in the Circuit Court of Will County, Illinois and

sentenced   to five years' imprisonment. Pursuant to Guideline $$ 4AL.1(a) and
44L.2(e), defendant receives 3 criminal history points for this sentence.

             d.    Anticipated Advisory Sentencing Guidelines Range.
Therefore, based on the facts now known to the government,      it is the government's
position that the antieipated offense level is 27, which, when combined with the

anticipated criminal history category of VI, results     in an anticipated advisory
sentencing guidelines range of 130 to t62 months' imprisonment, in addition to any

supervised release and fine the Court may impose. Pursuant to Guideline $ 5G1.1(a),

because the statutory maximum penalty for the offense of conviction         is   10 years'

imprisonment, the applicable advisory guideline sentence is 120 months. It is the

defendant's position that the anticipated offense level is 17, which, when combined

with the anticipated criminal history category of IV, results in an anticipated
advisory sentencing guidelines range of 37 to 46 months' imprisonment, in addition

to any supervised release and fine the Court may impose.

             e.    Defendant and his attorney and the government acknowledge

that the above guidelines calculations are preliminary in nature, and are non-binding

predictions upon which neither party is entitled to rely. Defendant understands that

further review of the facts or applicable legal principles may lead the government to

conclude   that different or additional guidelines provisions apply in this          case.


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Defendant understands that the Probation Office will conduct its own investigation

and that the Court ultimately determines the facts and law relevant to sentencing,

and that the Court's determinations govern the final guideline calculation.
Accordingly, the validity of this Agreement is not contingent upon the probation

officer's or the Court's concurrence with the above calculations, and defendant shall

not have a right to withdraw his plea on the basis of the Court's rejection of these

calculations.

       10.      Both parties expressly acknowledge that this Agreement is not governed

by Fed. R. Crim. P. 11(c)(1XB), and that errors in applying or interpreting any of the

sentencing guidelines may be corrected by either party prior       to sentencing.   The

parties may correct these errors either by stipulation or by a statement to the

Probation Office or the Court, setting forth the disagreement regarding the applicable

provisions of the guidelines. The validity of this Agreement   will not be affected by
such corrections, and defendant shall not have a right to withdraw his plea, nor the

govemment the right to vacate this Agreement, on the basis of such corrections.

                         Agreements Relating to Sentencing

       11. Each party is free to          recommend whatever sentence       it   deems

appropriate.

       12. It is understood by the parties that the sentencing judge is neither a
party to nor bound by this Agreement and may impose a sentence up to the maximum

penalties as set forth above. Defendant further acknowledges that if the Court does


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not accept the sentencing recommendation of the parties, defendant will have no right

to withdraw his guilty plea.

      13.     The parties further agree, pursuant to Title 18, United States Code,

Section 3583(d), that the sentence to be imposed by the Court shall include, as a

condition of any term of supervised release or probation imposed in this case, a

requirement that defendant repay the United States $gOO as compensation for

government funds that defendant received during the investigation of the case.

       14.    Defendant agrees to pay the special assessment of $100 at the time of

sentencing   with a cashier's check or money order payable to the Clerk of the   U.S.

District Court.

      15.     After sentence has been imposed on the count to which defendant pleads

guilty as agreed herein, the government will move to dismiss the remaining counts of

the indictment as to defendant.

          Acknowledgurents and Waivers Regarding Plea of Guilty

                               Nature of Agreement

      16. This Agreement is entirely voluntary and represents the entire
agreement between the United States Attorney and defendant regarding defendant's

criminal liability in case 16CR108.

      17.     This Agreement concerns criminal liability only. Except as expressly set

forth in this Agreement, nothing herein shall constitute a limitation, waiver, or

release by the United States or any of its agencies of any administrative or judicial


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civil claim, demand, or cause of action it may have against defendant or any other

person or entity. The obligations of this Agreement are limited to the United States

Attorney's Office for the Northern District of Illinois and cannot bind any other

federal, state, or local prosecuting, administrative, or regulatory authorities, except

as expressly set forth in this Agreement.

                                         Waiver of Rights

       18.   Defendant understands that by pleading guilty he surrenders certain

rights, including the following:

             a.       Trial rights. Defendant has the right to persist in a plea of not
guilty to the charges against him, and if he does, he would have the right to a public

and speedy trial.

                    i.           The   trial could be either a jury trial or a trial by the judge
sitting without a jury. However, in order that the trial be conducted by the judge

sitting without a jury, defendant, the government, and the judge all must agree that

the trial be conducted by the judge without            a   jury.

                    ii.          If the trial is a jury trial, the jury would be composed of
twelve citizens from the district, selected at random. Defendant and his attorney

would participate         in   choosing the   ju.y by requesting that the Court remove
prospective jurors for cause where actual bias or other disqualification is shown, or

by removing prospective jurors without cause by exercising peremptory challenges.




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                  tu.       If the trial is a jury trial, the jury would be instructed that

defendant is presumed innocent, that the government has the burden of proving

defendant guilty beyond a reasonable doubt, and that the       jury could not convict him

unless, after hearing    all the   evidence,   it   was persuaded of his guilt beyond a

reasonable doubt and that   it was to consider each count    of the indictment separately.

The   jury would have to agree unanimously as to each count before it could return       a

verdict of guilty or not guilty as to that count.

                  iv.       If the trial is held by the judge without a jury, the judge
would find the facts and determine, after hearing all the evidence, and considering

each count separately, whether or not the judge was persuaded that the government

had established defendant's guilt beyond a reasonable doubt.

                   v.       At a trial, whether by a jury or a judge, the government
would be required to present its witnesses and other evidence against defendant.

Defendant would be able to confront those government witnesses and his attorney

would be able to cross-examine them.

                  vl.       At a trial,   defendant could present witnesses and other

evidence   in his own behalf. If the witnesses for          defendant would not appear

voluntarily, he could require their attendance through the subpoena power of the

Court. A defendant is not required to present any evidence.

                 vrl.       At a trial, defendant would have a privilege against self-
incrimination so that he could decline to testify, and no inference of guilt could be


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drawn from his refusal to testi$r. If defendant desired to do so, he could testiSr in his

own behalf.

              b.    Appellate rights. Defendant further understands he is waiving

all appellate issues that might have been available if he had exercised his right to

trial, and may only appeal the validity   of this plea of   guilty and the sentence imposed.

Defendant understands that any appeal must be filed within 14 calendar days of the

entry of the judgment of conviction.

       19.    Defendant understands that by pleading guilty he is waiving all the

rights set forth in the prior paragraphs, with the exception of the appellate rights

specifically preserved above. Defendant's attorney has explained those rights to him,

and the consequences of his waiver of those rights.

        Presentence Investigation Report/Post-Sentence Supervision

      20.     Defendant understands that the United States Attorney's Office in its

submission to the Probation Office as part of the Pre-Sentence Report and at

sentencing shall   fully apprise the District Court and the Probation Offrce of the
nature, scope, and extent of defendant's conduct regarding the charges against him,

and related matters. The government will make known all matters              in aggravation
and mitigation relevant to sentencing.

      2L.     Defendant agrees to truthfully and completely execute a Financial

Statement (with supporting documentation) prior to sentencing, to be provided to and

shared among the Court, the Probation Offrce, and the United States Attorney's


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Office regarding all details of his financial circumstances, including his recent income

tax returns as specifred by the probation officer. Defendant understands that
providing false or incomplete information, or refusing to provide this information,

may be used as a basis for denial of a reduction for acceptance of responsibility

pursuant to Guideline $ 3EL.1 and enhancement of his sentence for obstruction of

justice under Guideline $ 3C1.1, and may be prosecuted as a violation of Title       18,

United States Code, Section   1-001   or as a contempt of the Court.

        22. For the purpose of monitoring            defendant's compliance   with   his

obligations to pay a fine during any term of supervised release or probation to which

defendant is sentenced, defendant further consents to the disclosure by the IRS to

the Probation Office and the United States Attorney's Offrce of defendant's individual

income tax returns (together with extensions, correspondence, and other tax

information) fiIed subsequent to defendant's sentencing, to and including the final

year of any period of supervised release or probation to which defendant is sentenced.

Defendant also agrees that a certified copy of this Agreement shall be sufficient

evidence   of defendant's request to the IRS to disclose the returns and return
information, as provided for in Title 26, United States Code, Section 6103(b).

                                      Other Terms

        23.   Defendant agrees to cooperate with the United States Attorney's Office

in   collecting any unpaid fine for which defendant is liable, including providing




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financial statements and supporting records as requested by the United States

Attorney's Office.

      24.    Defendant understands that,       if   convicted, a defendant who     is not   a

United States citizenmay be removed from the United States, denied citizenship, and

denied admission to the United States in the future.



                                     Conclusion

      25.    Defendant understands that this Agreement will be filed with the Court,

will become a matter of public record, and may be disclosed to any person.

      26.    Defendant understands that his compliance with each part of this

Agreement extends throughout the period of his sentence, and failure to abide by any

term of the Agreement is a violation of the Agreement. Defendant further
understands that     in the event he violates this Agreement, the government, at its
option, may move to vacate the Agreement, rendering       it null   and void, and thereafter

prosecute defendant not subject to any of the limits set forth        in this Agreement, or
may move to resentence defendant or require defendant's specific performance of this

Agreement. Defendant understands and agrees that           in the event that the Court
permits defendant to withdraw from this Agreement, or defendant breaches any of

its terms and the government elects to void the Agreement and prosecute defendant,

any prosecutions that are not time-barred by the applicable statute of limitations on

the date of the signing of this Agreement may be commenced against defendant in


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accordance   with this paragraph, notwithstanding the expiration of the statute of

limitations between the signing of this Agreement and the commencement of such

prosecutions.

      27.       Should the judge refuse to accept defendant's plea of guilty, this

Agreement shall become null and void and neither party will be bound to it.

      28.       Defendant and his attorney acknowledge that no threats, promises, or

representations have been made, nor agreements reached, other than those set forth

in this Agreement, to cause defendant to plead guilty.

      29.       Defendant acknowledges that he has read this Agreement and carefully

reviewed each provision with his attorney. Defendant further acknowledges that he

understands and voluntarily accepts each and every term and condition of this

Agreement.



AGREED    rHrs DArE:      7 /A-f?

Acting United



Assistant U.S. Attorney                        Attorney for Defendant




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